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8                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9                            SACRAMENTO COURTHOUSE
10   EZRA MAX PERRY, an individual,                Case No. 2:17-cv-00251-MCE-KJN
11                Plaintiff,
12         v.
13   NATIONAL COLLEGIATE STUDENT                   STIPULATION FOR DISMISSAL
     LOAN TRUST 2005-3, a Delaware
14   Statutory Trust, PATENAUDE &
     FELIX, A PROFESSIONAL
15   CORPORATION, a California
     corporation; and TRANSWORLD
16   SYSTEMS, INC., a California
     corporation and DOES 1 through 10,
17   inclusive,
18                Defendants.
19   _________________________/
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21         Plaintiff, EZRA MAX PERRY (“Plaintiff”) and Defendants, NATIONAL
22   COLLEGIATE STUDENT LOAN TRUST 2005-3 (“NCSLT”), PATENAUDE &
23   FELIX (“PATENAUDE”), and TRANSWORLD SYSTEMS, INC. (“TSI”), having
24   reached a settlement of this case, hereby stipulate to and jointly request that the
25   case be dismissed in its entirety, with prejudice. Each party will bear its own costs
26   and fees.
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                                   Stipulation for Dismissal
     Case 2:17-cv-00251-MCE-KJN Document 18 Filed 05/11/18 Page 2 of 2

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2    Respectfully submitted,
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     Dated: May 11, 2018                PATENAUDE & FELIX APC
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7                                       BY: /s/ Raymond A. Patenaude
                                        RAYMOND A. PATENAUDE
8                                       Attorneys for Defendants    e-signature authorized
                                        PATENAUDE & FELIX           by counsel 5/11/2018
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11   Dated: May 11, 2018                SESSIONS FISHMAN NATHAN
                                        AND ISRAEL, LLP
12                                                                      e-signature authorized by
                                                                        counsel 5/11/2018
13                                      BY: /s/ Debbie P. Kirkpatrick
                                        DEBBIE P. KIRKPATRICK, ESQ.
14                                      Attorneys for Defendants
                                        NATIONAL COLLEGIATE STUDENT LOAN
15                                      TRUST 2005-3 AND TRANSWORLD
                                        SYSTEMS, INC.
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19   DATED: May 11, 2018                /s/ James A. Michel
                                        JAMES A. MICHEL
20                                      Attorney for Plaintiff
                                        EZRA MAX PERRY
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                               Stipulation for Dismissal
